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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

In re:                                               §
                                                     §
ERIN ENERGY CORPORATION, et                          §                  Case No. 18-32106
al.,1                                                §
      Debtors.                                       §                 Chapter 11
                                                     §
                                                     §         (Jointly Administered)

         NOTICE OF CONTINUED HEARING ON USE OF CASH COLLATERAL

         PLEASE TAKE NOTICE that a continued hearing will be held before the Honorable

Marvin Isgur, United States Bankruptcy Judge, at the United States Bankruptcy Court, 515 Rusk,

4th Floor, Courtroom 404, Houston, Texas 77002 on May 30, 2018 at 3:45 p.m. (CT), or at such

other time as the court may determine, on the following motion and supporting documents

requesting certain emergency relief (the “Motion”), which was filed by the Debtors in connection

with the Chapter 11 Cases:

         Debtors’ Emergency Motion for Interim and Final Orders (I) Authorizing Use of Cash
         Collateral Pursuant to Section 363(c) of the Bankruptcy Code; (II) Granting Adequate
         Protection for the use thereof; and (III) Scheduling a Final Hearing Pursuant to
         Bankruptcy Rule 4001 as to Use of Cash Collateral [Docket No. 28].

         A copy of the above referenced Motion may be (i) inspected in the office of the Clerk of

the Bankruptcy Court during normal business hours; and (ii) downloaded from the Bankruptcy

Court’s website at http://www.txs.uscourts.gov/bankruptcy. Please note that prior registration

with the PACER Service Center and payment of a fee may be required to access such

documents. Requests for a copy of the Motion and further information regarding hearing may



1
 The last four digits of Erin Energy Corporation’s (“ERN”) federal tax identification number are 9798. The other
Debtors in these cases are: Erin Energy Limited (“EEL”); Erin Energy Kenya Limited (“EEKL”); and Erin
Petroleum Nigeria Limited (“EPNL”). The Debtors’ service address is: 1330 Post Oak Blvd., Suite 2250, Houston,
TX 77056.
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also be made to proposed counsel for the Debtors using the contact information below.

        Respectfully submitted this 30th day of May, 2018.

                                                Respectfully submitted,

                                                OKIN ADAMS LLP

                                        By:       /s/ Matthew S. Okin
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                                                PROPOSED ATTORNEYS FOR THE
                                                DEBTORS




                                  CERTIFICATE OF SERVICE

        I hereby certify that on May 30, 2018 the foregoing Notice of Continued Hearing on Use
of Cash Collateral was served upon filing via the Court’s EM/ECF electronic system on all
parties subscribing thereto.

                                                     /s/ Matthew S. Okin         _______
                                                     Matthew S. Okin




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